Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 1 of 17




            EXHIBIT 7
            REDACTED
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 2 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 3 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 4 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 5 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 6 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 7 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 8 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 9 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 10 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 11 of 17
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 12 of 17
Case 5:24-cv-03972-EKL    Document 159-6          Filed 05/08/25    Page 13 of 17




                Highly Confidential – Outside Counsel’s Eyes Only
Case 5:24-cv-03972-EKL   Document 159-6   Filed 05/08/25   Page 14 of 17
Case 5:24-cv-03972-EKL    Document 159-6          Filed 05/08/25    Page 15 of 17




                Highly Confidential – Outside Counsel’s Eyes Only
Case 5:24-cv-03972-EKL    Document 159-6          Filed 05/08/25    Page 16 of 17




                Highly Confidential – Outside Counsel’s Eyes Only
Case 5:24-cv-03972-EKL    Document 159-6          Filed 05/08/25    Page 17 of 17




                Highly Confidential – Outside Counsel’s Eyes Only
